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         EXHIBIT 1
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                                   #:1041
    Trials@uspto.gov                                     Paper 17
    571-272-7822                                         Entered: July 8, 2016



           UNITED STATES PATENT AND TRADEMARK OFFICE
                           ____________

            BEFORE THE PATENT TRIAL AND APPEAL BOARD
                           ____________

                                 TWILIO INC.,
                                  Petitioner,

                                        v.

                         TELESIGN CORPORATION,
                               Patent Owner.
                               ____________

                              Case IPR2016-00450
                              Patent 8,462,920 B2
                                ____________

    Before SALLY C. MEDLEY, JUSTIN T. ARBES, and
    KIMBERLY McGRAW, Administrative Patent Judges.

    McGRAW, Administrative Patent Judge.


                                    DECISION
                   Denial of Institution of Inter Partes Review
                               37 C.F.R. § 42.108
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          In the analysis that follows, we consider the parties’ proposed claim
    constructions to the extent necessary to determine the sufficiency of the
    asserted grounds of unpatentability. See Vivid Techs., Inc. v. Am. Sci. &
    Eng'g, Inc., 200 F.3d 795, 803 (Fed. Cir. 1999) (only those terms which are
    in controversy need to be construed and only to the extent necessary to
    resolve the controversy).


                                  “notification event”
          The term “notification event” is recited in elements [c], [d], and [e] of
    independent claim 1. Specifically, claim 1 recites “establishing a
    notification event,” “identifying an occurrence of the established notification
    event,” and, “after identifying the occurrence of the established notification
    event, re-verifying the registrant electronic contact.”
          Petitioner, relying upon the testimony of its declarant, Michael
    Shamos, Ph.D., asserts that the broadest reasonable interpretation of
    “notification event” is “an event that results in the registrant being contacted
    either for re-verification or for notification that the event occurred.” Pet. 9
    (citing Ex. 1002 ¶¶ 23–29). Patent Owner responds that Petitioner’s claim
    interpretation reads “notification” out of the “notification event” claim terms
    and is divorced from and inconsistent with the Specification of the ’920
    patent. See Prelim. Resp. 5. Patent Owner contends “notification event” as
    recited in claim 1 should be construed as “an event that results in the
    registrant being notified that the event occurred.” Id. at 11.
          We agree with Patent Owner. Although claim terms must be given
    their broadest reasonable interpretation, the interpretation must still be
    reasonable. Microsoft, 789 F.3d at 1298. “A construction that is

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    ‘unreasonably broad’ and which does not ‘reasonably reflect the plain
    language and disclosure’ will not pass muster.” Id. (citation omitted). Here,
    the claim recites establishing a “notification event,” not merely an “event,”
    and identifying an “occurrence” of the “established notification event.” If,
    as Petitioner urges, a “notification event” does not require notification that
    the event occurred, then the word “notification” would be superfluous. See
    Merck & Co., Inc. v. Teva Pharmaceuticals USA, Inc., 395 F.3d 1364, 1372
    (Fed. Cir. 2005 (rejecting a proposed claim construction that would render
    claim terms superfluous); Elekta Instrument S.A. v. O.U.R. Sci. Int'l,
    Inc., 214 F.3d 1302, 1307 (Fed. Cir. 2000) (construing claim to avoid
    rendering the 30 degree claim limitation superfluous); Gen. Am. Transp.
    Corp. v. Cryo–Trans, Inc., 93 F.3d 766, 770 (Fed. Cir. 1996) (rejecting the
    district court’s claim construction because it rendered superfluous the claim
    requirement for openings adjacent to the end walls). The term “notification”
    in “notification event” has meaning and, given how the term is used in claim
    1, we agree with Patent Owner that it requires a “notification event” to be an
    event that results in the registrant being notified that the event occurred.
    See, e.g., claim 1 (reciting establishing the “notification event” and
    “identifying” the “occurrence” of the “notification event”); Ex. 1001,
    Abstract (“Notification events are established, and the registrant is notified
    of the occurrence of a previously established notification event . . . .”), 2:49–
    55 (“Upon the occurrence of a previously established notification event, the
    registrant is notified . . . .”).
           Petitioner argues that the Specification of the ’920 patent uses the
    term “notification event” broadly. Pet. 9. For example, Petitioner argues
    that, according to the Specification, “[n]otification events can be

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    implemented in ‘a wide variety of scenarios’ including ATM transactions,
    credit card transactions, or as parental controls.” Id. at 9–10 (citing Ex.
    1001, 10:55–11:56, claims 19–22). Petitioner cites to other disclosures in
    the ’920 patent, arguing that those disclosures show that “[a] notification
    event may be any transaction,” “notification events may occur when a user
    requests to access or alter her account,” “a notification event may occur
    ‘every time a withdrawal [of] more than one thousand dollars is requested
    from his checking account, or is charged to his credit card,’” and
    “[n]otification events may comprise a news event, or even status of credit
    reports.” Id. at 10 (citing Ex. 1001, 1:39–45, 2:46–48, 10:56–63, 11:11–20,
    14:23–34, claims 20–22). Petitioner also cites to statements made during
    prosecution of the ’920 patent that allegedly support construing “notification
    event” as an event that “may result in either re-verification or notification.”
    Id. Specifically, Petitioner states that during prosecution, Patent Owner
    “argued, ‘an established notification event may include receiving a request
    to access an account associated with the registrant from a device that is not
    associated with the account.” Id. (citing Ex. 1013, 81). Thus, Petitioner
    concludes, a notification event does not necessarily result in notifying the
    registrant of the occurrence. Id. (citing Ex. 1002 ¶¶ 27–29).
          We are not persuaded that these statements support a construction of
    “notification event” as an event that may result in either re-verification or
    notification of the occurrence of the event, as none of the statements indicate
    that a registrant would only be contacted for re-verification after occurrence
    of the event (without notification that the event had occurred). Rather, each
    of the statements merely describe a type of event without indicating what
    activity will occur after the event. For example, the cited statement from the

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    prosecution history indicates that one type of event is receiving an access
    request from a non-associated device, but says nothing about what results
    after the event occurs (e.g., re-verification or notification that the event
    occurred). See Ex. 1013, 81.
          Petitioner also relies on the testimony of Dr. Shamos, who quotes the
    Specification as allegedly stating: “If a previously established notification
    event occurs, then the system will notify and/or verify the user.” Ex. 1002
    ¶ 28 (citing Ex. 1001, 9:3–4). This is incorrect. The cited portion of the
    Specification does not recite a “notification event.” Rather, the cited portion
    discusses “a previously established event,” not “a previously established
    notification event.” Ex. 1001, 9:3–4.
          Dr. Shamos also cites the Specification’s teaching that if a user logs
    into his account or attempts to make a transaction or modify account
    information, “the user may be notified or even required to become telephone
    verified.” Ex. 1002 ¶ 28 (citing Ex. 1001, 8:59–62). Dr. Shamos contends
    the Specification’s “use of the word ‘or’ indicates that the occurrence of the
    particular ‘notification event’ is not necessarily communicated to the
    registrant.” Id. We disagree. The cited sentence states that the “user may
    be notified or even required” to become telephone verified. Ex. 1001, 8:59–
    62. Thus, “or” is not used by itself, and, regardless, the cited sentence does
    not use the term “notification event” that is used in claim 1.
          A construction of “notification event” as “an event that results in the
    registrant being notified that the event occurred” is consistent with the
    Specification of the ’920 patent. See, e.g., Ex. 1001, Abstract (“Notification
    events are established, and the registrant is notified of the occurrence of a
    previously established notification event . . . .”), 1:10–13 (“The present

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    invention also relates to a process for notifying registrants of predetermined
    events using information obtained during the registration process.”), 1:42–44
    (“For example, a consumer may wish to be notified every time a withdrawal
    [of] more than one thousand dollars is requested . . . .”), 2:49–51 (“Upon the
    occurrence of a previously established notification event, the registrant is
    notified . . . . ),
            For the above reasons, we construe a “notification event” as “an event
    that results in the registrant being notified that the event occurred.”5 For
    purposes of this Decision, no express construction of any additional claim
    term is necessary.


                                   B. Priority Date
            The ’920 patent issued from U.S. Patent Application No. 11/538,989,
    filed on October 5, 2006, which was filed as a continuation-in-part
    application of U.S. Patent Application No. 11/034,421 (“the parent ’421
    application), filed on January 11, 2005. Petitioner argues that the ’920
    patent is not entitled to a filing date earlier than October 5, 2006 because the
    earlier filed parent ’421 application lacks sufficient written description for
    the claims of the ’920 patent.6 Pet. 8–9.




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      In a concurrently issued decision denying institution of an inter partes
    review in Case IPR2016-00451, we interpret “notification event” in the
    claims of the ’038 patent in a similar manner, the only difference being that
    the claims of the ’920 patent refer to a “registrant,” whereas the claims of the
    ’038 patent refer to a “user.”
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      Petitioner states Bennett has a filing date after January 11, 2005, but before
    October 5, 2006. Pet. 10–11.

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          Because we deny institution of inter partes review for the reasons
    explained below, we need not and do not reach the issue of whether the
    challenged claims of the ’920 patent are entitled to a priority date earlier
    than October 5, 2006. For purposes of this Decision, we assume, without
    deciding, that Bennett is available as prior art.

           C. Obviousness of Claims 1–10, 13, and 17–22 over Bennett, or
                             over Bennett and Thoursie
          Petitioner contends claim 1 is unpatentable under 35 U.S.C. § 103(a)
    as obvious over Bennett or alternatively over the combination of Bennett and
    Thoursie. Pet. 3, 16–42. To support its contention that claim 1 is
    unpatentable, Petitioner provides explanations as to how Bennett or Bennett
    and Thoursie allegedly teach the limitations of claim 1. Id. Petitioner also
    relies upon the testimony of Dr. Shamos. Ex. 1002.
          Both asserted grounds of unpatentability rely upon Bennett as
    teaching the “notification event” of independent claim 1. See Pet. 22–42.
    Thus, a dispositive issue is whether Petitioner has shown sufficiently that
    Bennett teaches this limitation.
          Bennett, entitled “System and Method of Fraud Reduction,” is
    directed to systems that authenticate a user using a “two-factor
    authentication” process. See Ex. 1005, Abstract, 2:47–3:16, Figs. 2, 3. For
    example, Bennett teaches that during the authentication process, the user
    provides “channel” information, such as a telephone number. See id. at
    2:58–66, 14:46–56. The system establishes a telephone connection (the
    second channel) with the phone number and sends a code to the user; the
    user then enters the code into the website (the first channel) to complete the


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    transaction. Id. at 2:53–3:16, 15:8–50. Bennett teaches that the user may
    be required to go through the authentication process for certain transactions,
    such as when the user is accessing the system from a different device than
    what was used in the past (id. at 18:4–53) or for “each and every
    transaction” (id. at 11:44–45). Examples of transactions that may require
    authentication include opening or logging into an account. Id. at 12:64–
    13:23. Bennett teaches decision making module 115 having decision engine
    108 that decides whether a particular transaction requires the two channel
    authentication process. See id., Fig. 2, 11:33–13:23, 16:3–13.
          Petitioner argues that Bennett teaches “notification events,” as recited
    in claim 1, because Bennett teaches events that can result in the re-
    verification of the user. See, e.g., Pet. 22 (“Bennett teaches that all attempts
    to access an account by the registrant are subjected to reverification”), 24
    (“Bennett expressly teaches establishing rules to determine whether to
    require subsequent two-factor authentication based on the user logging in
    from a different device than she had used in the past”), 25 (stating “any rule
    in Bennett’s decision engine corresponds to the claimed notification event”
    because the engine decides “whether a return user must be re-verified
    through two-factor authentication”).
          Petitioner also argues that if Bennett does not expressly teach
    configuring the rules in Bennett’s decision making module to correspond to
    the claimed notification event associated with a registrant, it would have
    been obvious to modify Bennett to do so “because the purpose of Bennett’s
    decision engine is to determine whether to require a subsequent two-factor
    authentication for a particular user during a particular transaction.” Id. at 26
    (citing Ex. 1005, 11:58–61, 12:33–41, 14:9–36; Ex. 1002 ¶¶ 122–126).

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         Notably, Petitioner does not argue that Bennett teaches notifying the
   user that the notification event occurred. Rather, Petitioner asserts, in
   accordance with its proposed interpretation of “notification event” as
   allowing for re-verification or notification that the event occurred, that the
   notification event in Bennett is an event that results in the subsequent
   two-factor authentication (reverification) of the user.
         As stated above, we construe a “notification event” as an event that
   results in the registrant being notified that the event occurred. Petitioner has
   not provided evidence or argument that Bennett teaches a notification event
   that would result in the registrant being notified that the event occurred. See
   Prelim. Resp. 28. Accordingly, we determine Petitioner has not shown
   sufficiently that Bennett teaches all of the limitations of independent claim
   1. As such, we are not persuaded that Petitioner has established a reasonable
   likelihood that Petitioner would prevail in its challenges to claim 1 or to
   claims 2–10, 13, and 17–22, which depend from claim 1.


                               D. Remaining Grounds
         Petitioner’s remaining grounds challenge claims 4, 5, and 13, which
   depend from claim 1. See Pet. 45–48, 53–54. For the reasons explained
   above regarding claim 1, we are not persuaded that Petitioner has established
   a reasonable likelihood of prevailing with respect to these grounds as well.


                                 III. CONCLUSION
         For the foregoing reasons, we determine that the information
   presented in the Petition does not show that there is a reasonable likelihood
   that Petitioner would prevail at trial with respect to at least one claim of the

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   ’920 patent based on any ground presented in the Petition. On this record,
   we deny the Petition for inter partes review of claims 1–10, 13, and 17–22
   of U.S. Patent No. 8,462,920 B2.
                                      ORDER
          Accordingly, it is
          ORDERED that the Petition for inter partes review of U.S. Patent
   No. 8,462,920 B2 is denied as to all challenged claims, and no trial is
   instituted.




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